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          Port Services, LLC, XPO Port Services,
     11   Inc., XPO Logistics, Inc., XPO Logistics,
          LLC, XPO Intermodal Solutions, Inc., and
     12
          XPO Intermodal Services, LLC
     13

     14
                              UNITED STATES DISTRICT COURT

     15
                            CENTRAL DISTRICT OF CALIFORNIA

     16
          VICTOR CORTEZ ARRELLANO,                    Case No. 2:18-cv-08220-RGK-E
     17   AND ON BEHALF OF ALL
          UNNAMED PLAINTIFFS                          DECLARATION OF JOSE
     18
          SIMILARLY SITUATED,                         MORAN
     19
                            Plaintiffs,               Dept:    850
    20                                                Judge:   Hon. R. Gary Klausner
    21          V.
                                                      Related to Case No.:
    22    XPO PORT SERVICE INC.; and                  2: 18-cv-03736-RGK-E
          DOES 1 through 50, inclusive,
    23
                                                      REDACTED VERSION OF
    24                      Defendants.               DOCUMENT PROPOSED TO BE
    25                                                FILED UNDER SEAL

    26
    27

    28

                                                                          MORAN DECLARATION
                                                                         NO. 2:18-CV-08220-RGK-E
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      1                             DECLARATION OF JOSE MORAN
     2              I, Jose Moran, hereby declare and state as follows:
     3              1.     I am a dispatcher employed by XPO Logistics Port Services, LLC
     4    ("XPO") in Rancho Dominguez, California, and I have held that job and similar
     5    jobs with XPO and its predecessor companies for 22 years. Part ofmy job involves
     6    offering loads to the independent contractors ("Contractors") that XPO contracts
     7    with to transport freight. I submit this declaration based upon my personal
     8    knowledge and, if called as a witness, could and would testify to the matters set
     9    forth below.
    10              2.     As a dispatcher at XPO, I am familiar with the practices and daily
    11    tasks of dispatchers, as well as our policies for offering loads to Contractors and
    12    their drivers.
    13              3.     Contractors and their drivers come to XPO with varied experience.
    14    Some have obtained an endorsement on their commercial driver's license to
    15    transport hazardous materials loads,
                                                           I am aware of at least    Contractors
    17    or drivers of Contractors with their hazardous materials endorsement. Several more
    18    had their hazardous materials endorsement in prior years when XPO offered more
    19    hazardous materials loads. Some of the Contractors and their drivers opted not to
    20    spend $150 to take the test to renew this endorsement. Also in prior years, several
    21    Contractors and their drivers obtained their tanks endorsement




    24          4.       While contracting with XPO, Contractors, both individuals and
    25    corporations, run their businesses differently. Some employ or have employed
    26    additional drivers. I am aware of         current Contractors who employ second-seat
    27    drivers                                       who previously employed a second-seat
    28    driver. Some of these Contractors have one truck and they (or their owners in the
                                                                                 MORAN DECLARATION
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      1   case of incorporated Contractors) trade off driving with their second-seat drivers.
     2    For instance, two current Contractors have their second-seat drivers transport loads
      3   during the day, and the Contractors transport loads at night. Other Contractors have
     4    multiple trucks, and they (or their owners) and their second-seat drivers drive
      5   different trucks. When Contractors employ additional drivers, they reach
     6    arrangements with their drivers regarding what to pay them. XPO is not involved
     7    in or aware of the specific amounts Contractors pay their drivers. I am aware that
     8    the amounts Contractors have agreed to pay their drivers have varied. I understand
     9    that Contractors tend to pay their drivers between 35 percent and 50 percent of the
    1o    settlement they receive for the loads their drivers transport.
    11           5.    To my knowledge, most of the current Contractors have purchased the
    12    trucks they use to service their contracts with XPO, after having leased the trucks.
    13    Some Contractors have multiple trucks in service with XPO. I am aware of at least
    14    six Contractors who have or have had multiple trucks in service with XPO at one
    15    time. Former contractor                   , for example, previously had at least four
    16    trucks in service with XPO. My understanding is that he has since taken three of
    17    his trucks out of service with XPO and put them into service with another company.
    18           6.    Contractors or their drivers reach out to me and my fellow dispatchers
    19    when they want to receive loads to transport. During the period at issue in this
    20    case, which I understand to be from March 28, 2013 to the present, Contractors and
    21    their drivers could request dispatches by calling us or by asking us for a load in
    22    person. Because I currently start dispatching in the evenings, I contact Contractors
    23    and their drivers who have requested work at night to offer them the available
    24    appointments at the ports. I provide the Contractors or drivers multiple options
    25    when available and allow them to select the option they prefer. Plaintiff Edgardo
    26    Villatoro, for example, tends to select whatever load pays the most from the options
    27    available.
    28          7.     About five years ago, when I worked during the day, a few Contractors

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     1   asked me for directions when they selected a load to a new customer location. In
     2   total, I received a couple requests for directions each month for about a year. As
     3   best I can recall, only one Contractor in this action made some of those requests.
     4   When I received those requests, I printed out directions from Google Maps and
     5   provided the directions to the Contractors. I also occasionally received calls from
     6   Contractors who were unable to find the customer's building and have either
     7   Googled the address of the customer location to help the Contractor find it or called
     8   the customer to find out the nearby main streets to provide to the Contractor. I have
     9   followed up with the Contractor by phone to ensure he or she reached the customer
    1o   location. I have provided directions only when requested and to assist the
    11   Contractors. It would not matter to me if they went a different route from the
    12   directions I provided.
    13          8.    There is no requirement that Contractors or owners of incorporated
    14   Contractors work at specific times or at all on any given day. Contractors can and
    15   do set their own schedules and change them at any time without explanation. One
    16   Contractor I know recently changed his normal schedule, so he could pick up
    17   relatives from the airport. Contractors and drivers let us know when they want to
    18   request a load, if at all. Those who prefer to work at night have shared with me that
    19   they like to avoid traffic or have other obligations during the day, like taking their
    20   children to school, paying bills, and running errands.
    21         9.     Some Contractors or their drivers request loads for early in the
    22   morning, while others prefer to start mid-morning or later in the day.




    25         10.    There is no requirement that Contractors or their drivers accept any of
    26   the loads they are offered. There are also no negative consequences against
    27   Contractors who refuse loads, and in my experience, dispatchers do not retaliate
    28   against Contractors in any way for doing so. Instead, if a Contractor turns down a

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      1   load, we simply offer that Contractor other available loads or, in the event no loads
     2    are available,




     5           11.   From my experience as a dispatcher, it is very common for Contractors
     6    or owners of incorporated Contractors to express preferences for particular loads or
     7    to refuse to transport particular loads, especially when there is a high volume of
     8    available work. Contractors or owners often express that they prefer certain loads
     9    and do not want to take other loads for a variety of reasons. Some prefer to do one
    1o    short haul and then one long haul out to a location that is close to where they live in
    11    the Inland Empire, which they commonly refer to as a "ride home." Others,
    12    including Plaintiff Felix Nunez Duarte, prefer the opposite and request moves out
    13    to the Inland Empire first and then local moves because they live locally. Having
    14    worked with Contractors over the years, I have come to learn their preferences and I
    15    will offer them their preferred work when available. For example, Plaintiff
    16    Edgardo Villatoro previously requested loads for            and I offered him those
    17    loads when they were available.
    18           12.   Many Contractors or owners of incorporated Contractors that I interact
    19    with routinely refuse loads. Some Contractors tum down loads because, for
    20    example, they do not want to do local moves, to drive to a distant location requiring
    21    them to drive over weigh scales, or to drive two to three hours out to Lebec,
    22    California. Plaintiff Gerald Daniels, for instance, has turned down loads multiple
    23    times per week, including local moves for the                     accounts, moves
    24    out to Lebec for the      account, and moves for the           account, based on his
    25    preferences. I occasionally ask Contractors or owners of incorporated Contractors
    26    why they are turning down loads offered to them to see if there are any issues or
    27    problems with particular customers or rail yard locations, and to allow us to offer
    28    more tailored loads to those Contractors in the future. This will also occasionally

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     1   II inform whether any premiums or incentives are offered for certain moves.
     2              13.     XPO has offered premiums or incentives for a variety of reasons,
     3    II including to
         II
         I
                                                 . These incentives often range from
       II
     6 II              . When Contractors request incentives, I will ask my manager for
       II
     7 II approval. In the past few years, when I have asked my manager to approve

     8 II incentives, I estimate that he has done so 90 percent of the time.
       11



     9              14.     Under their contracts with XPO, Contractors determine the working
    10       hours and days they and their drivers will observe, subject only to the federal hours
    11       of service limits. This means that Contractors or owners of incorporated
    12       Contractors who choose to drive, along with any additional drivers they employ,
    13       can and do decide not to work whenever they would like. In my experience,
    14       Contractors typically take themselves off dispatch for about two weeks each year to
    15       vacation. Some Contractors (but not all) let me or my colleagues know they do not
    16       plan to accept dispatches on certain days as a matter of courtesy; they are not
    17       required to do so. The Contractors or owners of incorporated Contractors who
    18       prefer to drive at night often let us know they will not be driving because they know
    19       we start offering dispatches earlier in the afternoon.
    20             I declare under penalty of perjury under the laws of the United States of
    21       America that the foregoing is true and correct to the best of my knowledge,
    22       information, and belief.
    23             Executed this 5_ day of June, 2021, at Rancho _Dominguez, California.


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    26                                                                  Jose Moran
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